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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
         Plaintiff,                                     )
                                                        )
 v.                                                     ) Case No. 1:24-cr-00116-JEB
                                                        )
 JUSTIN LAGESSE,                                        )
                                                        )
         Defendant.                                     )
                                                        )

              DEFENDANT’S MOTION TO CONTINUE SENTENCING HEARING

       Defendant, through his attorney, Assistant Federal Public Defender Julie Clark, moves to

continue the sentencing date for at least 30 days to a date convenient for the Court. In support of this

motion he states:

       1.      Mr. LaGesse is set for sentencing on January 10, 2025, at 11:00 a.m.

       2.      On October 30, 2024, the government provided defense counsel with additional

               discovery, including pertinent information related to the estimated cost of damage to the

               U.S. Capitol building.

       3.      This discovery was produced through USAfx and also through the Relativity database.

               Defense counsel is still in the process of reviewing the recently disclosed information.

       4.      Additionally, defense counsel is still awaiting the disclosure Presentence Investigation

               Report from the United States Probation Office. Defense counsel requires additional

               time to research potential objections.

       5.      Defense counsel continues to gather and request pertinent information and records for the

               Court to consider at sentencing and needs additional time to obtain the information.
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       6.      Defense counsel anticipates being on leave from December 21, 2024, to January 6, 2025.

       WHEREFORE, for the reasons stated above, Defendant respectfully requests that the Court

continue the sentencing hearing for at least 30 days to a date convenient for the Court.



                                                     Respectfully submitted,

                                                     /s/ Julie Clark
                                                     Assistant Federal Public Defender
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                                                     St. Louis, Missouri 63101
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                                                     E-Mail: Julie_Clark@fd.org
                                                     Attorney for Defendant



                                    CERTIFICATE OF SERVICE


I hereby certify that on December 3, 2024, the foregoing was filed electronically with the Clerk of the
Court to be served by operation of the Court’s electronic filing system upon John D. Oxenreiter,
Assistant United States Attorney.




                                                     /s/ Julie Clark




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